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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                               Civil Action No. 9:16-cv-81992-MARRA

   BRANDON LEIDEL, individually,
   and on behalf of all others similarly situated,

          Plaintiff,

   v.

   COINBASE, INC., a Delaware corporation
   d/b/a, Global Digital Asset Exchange (GDAX),
         Defendant.
   ________________________________________________/

                 PLAINTIFF’S MEMORANDUM OF LAW IN OPPOSITION TO
                   DEFENDANT’S MOTION FOR SUMMARY JUDGMENT

                                         Respectfully submitted,

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   I.     INTRODUCTION
          This nationwide class action is brought on behalf of a class of similarly situated users of
   Project Investors, Inc. d/b/a CRYPTSY (“CRYPTSY”), a cryptocurrency exchange and Money
   Services Business based in South Florida that served clients in the United States and abroad (the
   “Class”). The case is related to another class action before this Court styled Leidel, et al. v.
   Project Investors, Inc. d/b/a Cryptsy, Paul Vernon, and Lorie Ann Nettles, Case No. 9:16-cv-
   80060-MARRA (the “CRYPTSY CASE”). This class action asserts claims on behalf of the same
   Class against Defendant COINBASE, a California headquartered cryptocurrency exchange,
   through which CRYPTSY’s founder, Paul Vernon (“Vernon”), converted into U.S. Dollars the
   cryptocurrency he stole from the Class and then transferred the stolen funds to his personal bank
   accounts before absconding to China.
          Plaintiff asserted four claims against Coinbase based on its conduct in connection with
   Vernon and CRYPTSY’s theft of the Class’s assets: (i) Aiding and Abetting Breach of Fiduciary
   Duty; (ii) Aiding and Abetting Conversion; (iii) Negligence; and (iv) Unjust Enrichment. The
   first two counts are based on Coinbase’s actual knowledge of and substantial assistance with
   CRYPTSY and Vernon’s tortious conduct resulting in the theft of Plaintiff’s assets. Count III is
   based on Coinbase’s direct negligent conduct which caused Plaintiff’s damages. Count IV is
   based on the equitable claim that Coinbase received a direct benefit from Plaintiff by virtue of its
   receipt of fees taken from the Class’ assets to pay for its services provided to Vernon and
   CRYPTSY that allowed them to steal Plaintiff’s assets.
          Defendant’s Motion for Summary Judgment must be denied because it is a based on a
   narrow and incomplete consideration of the record evidence and an erroneous application of the
   law. The result is a misleading, one-sided argument that portrays Defendant as an ignorant and
   innocent tool of a devious crook while ignoring obvious disputed issues of material fact that
   prove otherwise. As to purely legal issues, Defendant’s motion seeks to cloak itself under the
   protection of legal precedent that applies uniquely to banks. Notably missing from Defendant’s
   motion, however, is any fact or argument that COINBASE is a bank. Nor could Defendant make
   such an argument for the simple reason that COINBASE is not a bank. If COINBASE were to
   argue that it is, in fact and law, a bank, it would expose COINBASE to myriad federal and state
   regulations to which it does not want to be bound. However, it is the very protections imposed on
   banks by these regulations that gives rise to the lenient legal standards on which Defendant relies



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   to evade liability in this case. COINBASE wants the benefits of being treated like bank without
   actually being a bank. The Court should see through this ruse for what it is, an attempt to avoid
   responsibility for its conduct. Defendant cannot simply ignore the record evidence and applicable
   legal theories to sweep the disputed issues of material fact under the rug. This case must be tried
   to a jury to determine Defendant’s culpability for the theft of Plaintiff’s assets.
   II.       BACKGROUND 1
             Before addressing the specific facts of COINBASE’s conduct vis-à-vis the theft of the
   Plaintiff class’s assets, it is important to understand the nature of cryptocurrency and the
   exchanges, like COINBASE, that allow people and businesses, like CRYPTSY and Vernon, to
   buy, sell, trade and convert virtual currency in this unique and highly risky market. In 2013, the
   U.S. Treasury Department Financial Crimes Enforcement Network (“FinCEN”) issued a
   regulatory guidance letter addressing cryptocurrency exchanges. Dept. of the Treas. Fin. Crimes
   Enforcement Network, OPINION LETTER ON APPLICATION OF FINCEN’S REGULATIONS TO
   PERSONS ADMINISTERING, EXCHANGING, OR USING VIRTUAL CURRENCIES (Fin-2013-G001
   March 18, 2013) (the “Guidance”). In that Guidance, FinCEN confirmed that virtual currency
   exchange businesses had been subject to Bank Secrecy Act (“BSA”) and Anti-Money
   Laundering regulations since 2011. Id. at p.2. Specifically, the Guidance stated that a virtual
   currency exchange service that is engaged as “a business in the exchange of virtual currency for
   real currency, or other virtual currency” and that “(1) accepts and transmits a convertible virtual
   currency or (2) buys or sells convertible virtual currency for any reason is a money transmitter”
   and therefore subject to the BSA as a Money Services Business (“MSB”). Id. A Money Services
   Business (defined in 31 CFR 1010.100(ff)) is a materially different thing from a bank, which is
   defined in 31 CFR 1010.100(d).           In fact, the Code of Federal Regulations (31 CFR
   1010.100(ff)(8)(i)) specifically notes that the term “Money Services Business” shall not include
   a bank.
             FinCEN described the regulations to which virtual currency exchanges are subject as: (i)
   registering with FinCEN as an MSB; (ii) preparing a written AML (anti-money laundering)
   compliance program that is designed to mitigate risks (including money laundering risks)


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          The facts supporting Plaintiff’s Memorandum are set forth in Plaintiff’s Opposition to
   Defendant’s Statement of Undisputed Material Facts, which is being filed contemporaneously
   herewith.

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   associated with the entity’s specific business and customer mix, and to ensure compliance with
   other BSA requirements; (iii) filing BSA reports, including suspicious activity and currency
   transaction reports; (iv) keeping records for certain types of transactions at specific thresholds;
   and (v) obtaining customer identification information sufficient to comply with the AML
   Program and recordkeeping requirements. U.S. Dept. of Treasury, Office of Legislative Affairs,
   OPINION LETTER TO UNITED STATES SENATE COMMITTEE ON FINANCE (Feb. 13, 2018). FinCEN
   also clarified that although virtual currency exchange businesses are subject to the BSA and
   AML regulations, virtual currency is NOT real currency. As stated by FinCEN:
           In contrast to real currency, “virtual” currency is a medium of exchange that
           operates like a currency in some environments but does not have all the attributes
           of real currency. In particular, virtual currency does not have legal tender status in
           any jurisdiction.
   Fin-2013-G001 at p.1.
           The importance of this distinction between “real currency” and “virtual currency” -- and
   between virtual currency exchange businesses and real banks -- was further highlighted by the
   Securities and Exchange Commission in an Investor Alert issued on May 7, 2014.                   U.S.
   Securities and Exchange Commission, INVESTOR ALERT: BITCOIN AND OTHER VIRTUAL
   CURRENCY-RELATED INVESTMENTS (May 7, 2014). In that alert, the SEC warned that “Bitcoin
   operates without central authority or banks and is not backed by any government.” Id. (emphasis
   added). The SEC further warned that bitcoin exchanges “that play an important role in the use of
   bitcoins may be unregulated or operating unlawfully.” Id. (emphasis added). Moreover, unlike
   securities accounts at U.S. brokerage firms and bank accounts at U.S. banks, bitcoin held in
   digital wallets or bitcoin exchanges are not insured by the Securities Investor Protection
   Corporation or the Federal Deposit Insurance Corporation. Id. Of particular importance to this
   case, the SEC warned, “Bitcoin exchanges may stop operating or permanently shut down due to
   fraud, technical glitches, hackers or malware. Bitcoin may also be stolen by hackers.” Id. Put
   simply, the SEC warned, “as a recent invention, Bitcoin does not have an established track
   record of credibility and trust.” Id.
           In one of the most sweeping investigations of virtual currency exchange businesses, the
   New York State Attorney General’s Office reported:
           [U]nlike those traditional players, virtual asset trading platforms now in operation
           have not registered under state or federal securities or commodities laws. Nor



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          have they implemented common standards for security, internal controls, market
          surveillance protocols, disclosures, or other investor and consumer protections.

          Accordingly, customers of virtual asset trading platforms face significant risks. In
          recent years, hackers have infiltrated trading platforms and stolen billions of
          dollars’ worth of virtual currency, leaving customers with little or no recourse.
          Delays and outages on trading platforms are common, leaving customers unable
          to withdraw funds and susceptible to significant losses given volatile prices.
          Public reports also have linked certain trading platforms to deceptive and
          predatory practices, market manipulation, and insider abuses.
   Office of the New York State Attorney General, VIRTUAL MARKETS INTEGRITY INITIATIVE
   REPORT 1 (Sept. 18, 2018). 2
          The primary questions in dispute between the parties are whether COINBASE knew that
   CRYPTSY and Vernon were using their services to commit the theft, whether COINBASE
   provided substantial assistance to CRYPTSY and Vernon, and whether COINBASE owed the
   Class members a duty to protect them from the risks inherent in the services they provided. As
   explained below, the record evidence clearly establishes a basis from which a reasonable jury
   could conclude that COINBASE did have actual knowledge, provided substantial assistance, and
   breached a duty resulting in the theft of the Plaintiff class’ virtual currency assets.
   III.   LEGAL ARGUMENT
          Plaintiff acknowledges that the facts of this case are contested. Witnesses have said
   contradictory things. The documents can be read to support different conclusions, and the expert
   reports reach very different conclusions. Defendant, however, simply ignores these disputed
   issues in favor its own self-serving statements of ignorance. As explained below, Defendant’s
   attempt to whitewash the facts is inappropriate for a summary judgment motion. Defendant’s
   motion should therefore be denied.
          A. Aiding and Abetting Breach of Fiduciary Duty and Conversion.
          Aiding and abetting breach of fiduciary duty and conversion are based on the same
   fundamental elements: the commission of the underlying tort by one party where another party

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     Other financial regulators have issued similar warnings. The Financial Industry Regulatory
   Authority (“FINRA”) issued an Investor Alert in which it warned, “There is also the risk of fraud
   related to companies claiming to offer Bitcoin payment platforms and other Bitcoin-related
   products and services.” http://www.finra.org/investors/alerts/bitcoin-more-bit-risky. The North
   American Securities Administrators Association warned that Digital Currency was one of its top
   emerging investor threats in 2013. https://www.nasaa.org/27012/nasaa-expands-annual-top-
   investor-threats-list/?qoid=newsroom.

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   has actual knowledge of the commission of that tort and provides substantial assistance to the
   party that committed the underlying tort. Casey v. U.S. Bank Nat. Ass’n, 127 Cal.App.4th 1138,
   1144 (Cal. Ct. App. 2005); Chang v. JP Morgan Chase, N.A., 845 F.3d 1087 (11th Cir. 2017);
   Lesti v. Wells Fargo Bank, N.A., 960 F.Supp.2d 1311, 1321 (M.D. Fla. 2013); Simi Management
   Corp. v. Bank of America, N.A., 930 F.Supp.2d 1082, 1098 (N.D. Cal. 2013); Jordan v. Paul
   Financial, LLC, 285 F.R.D. 435, 452 (N.D. Cal. 2012); Neilsen v. Union Bank of California,
   N.A., 290 F.Supp.2d 1101, 1133 (C.D. Cal. 2003). Moreover, a defendant can be liable for aiding
   and abetting even if the defendant owes no independent duty to the plaintiff. Simply having
   knowledge of the underlying tort committed by someone else and providing substantial
   assistance in the commission of that tort is sufficient. American Master Lease LLC v. Idanta
   Partners, Ltd., 225 Cal.App.4th 1451, 1476 (Cal. Ct. App. 2014); Neilsen, 290 F.Supp.2d at
   1135; Simi Mgmt. Corp., 930 F.Supp.2d at 1099.
               1. Aiding and Abetting Conversion
          As to Count I for aiding and abetting conversion, Defendant’s motion asserts that
   COINBASE had no actual knowledge of the conversion and that it did not substantially assist
   with the conversion. Defendant’s argument misses the mark. Evidence sufficient to prove actual
   knowledge need not be direct; it rarely is. Rather, circumstantial evidence from which a
   reasonable inference of actual knowledge can be drawn is sufficient to preclude summary
   judgment. Freeman v. JPMorgan Chase Bank, N.A., 675 Fed.Appx. 926, 933 (11th Cir. 2017);
   Overton v. Art Fin. Partners LLC, 166 F.Supp.3d 388, 411 (S.D.N.Y. 2016); Cobalt Multifamily
   Investors I, LLC v. Shapiro, 9 F.Supp.3d 399, 413 (S.D.N.Y. 2014); Simi Mgmt. Corp., 930
   F.Supp.2d at 1100; Smith v. First union Nat’l Bank, 2002 WL 31056104 *2, Case No. 00-4485
   (S.D. Fla. Aug. 23, 2002); Lawyers Title Ins. Corp. v. United American bank of Memphis, 21
   F.Supp.2d 785, 798-800 (W.D. Tenn. 1998).
          COINBASE knew that Vernon and CRYPTSY used COINBASE’s virtual currency
   exchange services to engage in an extraordinarily and unusually large volume of transactions to
   convert virtual currency to fiat currency as compared to every other customer. COINBASE knew
   that the source of CRYPTSY’s virtual currency was either from CRYPTSY’s customers or from
   Vernon’s personal mining of bitcoin. COINBASE knew that the extremely large volume of
   Vernon and CRYPTSY’s transactions were highly unusual and could not possibly have been
   generated solely from his personal mining efforts or from commissions on transactions by


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   CRYPTSY’s customers. COINBASE knew that CRYPTSY operated from a jurisdiction known
   for protecting fraudsters. COINBASE treated CRYPTSY and Vernon’s transactions differently
   from other customers who engaged in high volume (although lower than CRYPTSY and
   Vernon’s) transactions by allowing them to continue its transactions when it suspended other
   customer’s transactions based on lower trading volumes. COINBASE failed to conduct basic due
   diligence on CRYPTSY and Vernon’s transactions contrary to its own standards of due diligence
   and AML and BSA regulatory requirements. COINBASE reaped huge revenues from CRYPTSY
   and Vernon’s transactions.
          When independent reports surfaced that CRYPTSY and Vernon were being investigated
   for fraud and money laundering, COINBASE quietly closed CRYPTSY’s and Vernon’s
   COINBASE accounts and concealed their relationship from federal regulators by failing to report
   CRYPTSY and Vernon’s transactions using the COINBASE platform. It then continued provide
   Vernon with information about his accounts after he fled to China and his theft was complete.
   All the while, COINBASE knew that it operated in an industry that was rife with fraud, theft, and
   the potential for money laundering -- and it did so without a set of policies and procedures
   (flawed and incomplete as they were) that would have easily identified CRYPTSY and Vernon’s
   theft and confirmed that the virtual currency exchanged belonged to the Plaintiff class.
   COINBASE also knew that Vernon and CRYPTSY needed COINBASE’s services as a virtual
   currency exchange service that allowed conversion of virtual currency into fiat currency to
   complete their theft, and COINBASE knew it reaped huge revenue from allowing CRYPTSY
   and Vernon to use its service with little to no oversight.
          These facts, taken together, give rise to a clear inference that COINBASE had actual
   knowledge that CRYPTSY and Vernon were engaged in theft of their clients’ funds through
   COINBASE’s cryptocurrency exchange platform. If COINBASE didn’t know CRYPTSY was
   stealing its customers’ assets, why avoid any investigation of its transactions to verify the history
   of the blockchain of the bitcoin it transferred to COINBASE? Why didn’t anyone call Vernon
   directly to question the transactions? Why didn’t COINBASE place a hold on CRYPTSY and
   Vernon’s transactions like COINBASE had done for other smaller volume customers? Why
   didn’t COINBASE report CRYPTSY’s transactions and communications to any governmental
   authority despite its clear regulatory obligation to do so? At the same, time, COINBASE
   voraciously protected its relationship with CRYPTSY and Vernon by pressing its partner bank to


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   keep them as customers due to the large volume of fees they generated, and they did so just
   months before reports of CRYPTSY’s theft and fraud were publicly reported.
          Accordingly, there is extensive evidence that Defendant had knowledge of facts from
   which an inference of actual knowledge and substantial assistance can be drawn. Moreover, all
   such inferences must be drawn in favor of the non-moving party on a motion for summary
   judgment. Because there is a disputed issue of material fact and the inferences to be drawn from
   the facts as to whether Defendant had actual knowledge of CRYPTSY’s conversion and whether
   Defendant provided substantial assistance to CRYPTSY and Vernon, Defendant’s motion as to
   Count I of Plaintiff’s Class Action Complaint must be denied.
          Defendant’s reliance on cases involving aiding and abetting claims against banks are
   inapposite. See, e.g. Lawrence v. Bank of America, N.A., 455 Fed.Appx. 904, 907 (11th Cir.
   2012); Wiand v. Wells Fargo Bank, N.A., 938 F.Supp.2d 1248 (M.D. Fla. 2013). As stated in
   Lawrence, that Court’s dismissal of the aiding and abetting claim in that case was explicitly
   premised on the fact that “Florida law does not require banking institutions to investigate
   transactions.” 455 Fed.Appx. at 907. As noted, COINBASE was and is not a bank. It had none of
   the extensive statutory, regulatory, and legal protections afforded to banks that allow them to
   operate under lesser scrutiny in order to ensure seamless and efficient banking transactions.
   Moreover, even if bank-specific authorities were applicable, they do not absolve COINBASE.
   As stated by the California court in Casey, “common sense tells us that even ‘ordinary business
   transactions’ a bank performs for a customer can satisfy the substantial assistance element of
   aiding and abetting if the bank actually knew those transactions were assisting the customer in
   committing a specific tort.” Casey, 127 Cal.App.4th at 1145.
          COINBASE knowingly operated in an industry and provided services that numerous
   federal agencies warned were rife with the risk of fraud, theft and money laundering, precisely
   because they are not banks. At the time of the theft, COINBASE operated with almost no
   compliance procedures and almost no due diligence oversight of its customers’ conduct,
   including that of CRYPTSY and Vernon. Applying to COINBASE the legal standard governing
   a bank’s actual knowledge of its customer’s tortious conduct would grant unwarranted
   preference to a business that, at the time of the theft, was the antithesis of a state or federally




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   regulated banking institution that had none of the features of a bank that justify their special
   treatment. 3 Such an argument is simply preposterous.
                2. Aiding and Abetting Breach of Fiduciary Duty
          As to Count II for aiding and abetting breach of fiduciary duty, Defendant argues, in
   addition to the purported absence of evidence of its actual knowledge of, or provision of
   substantial assistance to the breach of fiduciary duty, that no fiduciary duty existed between
   CRYPTSY and Plaintiff. These arguments are simply wrong.
          First, as to the absence of evidence of actual knowledge and substantial assistance, the
   same facts that preclude summary judgment as to aiding and abetting conversion also preclude
   summary judgment as to aiding and abetting breach of fiduciary duty.
          Second, as to the existence of a duty, Defendant again improperly relies on a false
   analogy between CRYPTSY’s relationship with its customers and the relationship between a bank
   and its depositors. CRYPTSY was not a bank. Plaintiff and the class were not simply depositors;
   and bitcoin is not fiat money. Thus, the case law on which Defendant relies is entirely inapposite.
          Instead, this Court must look to generally applicable law to determine if a fiduciary duty
   arose between Plaintiff and CRYPTSY. A fiduciary relationship is defined as:
          The relation and duties involved need not be legal; they may be moral, social,
          domestic or personal. If a relation of trust and confidence exists between the
          parties (that is to say, where confidence is reposed by one party and a trust
          accepted by the other, or where confidence has been acquired and abused), that is
          sufficient as a predicate for relief. The origin of the confidence is immaterial.

   Doe v. Evans, 814 So. 2d 370, 374 (Fla. 2002) (emphasis in original). “A fiduciary relationship
   may be implied by law, and such relationships are ‘premised upon the specific factual situation

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     Defendant’s remaining cases are equally inapposite because they arose in the context of a
   motion to dismiss where the plaintiffs made only “conclusory statements that a defendant
   actually knew” of the alleged underlying tort and, in most cases arose from claims against banks.
   See Ackner v. PNC Bank Nat’l Ass’n, Case No. 16-81648, 2017 WL 7726684 *4 (S.D. Fla. Aug.
   30, 2017) (Marra, J.) (granting motion to dismiss claim against bank); In re Brican America
   LLC, Case No. 10-md-02183, 2015 WL 11661980 (S.D. Fla. Aug. 4, 2015) (motion to dismiss);
   Honig v. Kornfeld, 339 F.Supp.3d 1323 (S.D. Fla. 2018) (motion to dismiss); Lamm v. State
   Street Bank & Trust Co., 889 F.Supp.2d 1321 (S.D. Fla. 2012) (motion to dismiss claim against
   bank). Here, there is extensive record evidence from which a jury could reasonably conclude that
   COINBASE had actual knowledge of the underlying misconduct and the claim is not against a
   bank. See Simi Management Corp., 930 F.Supp.2d at 1098 (denying summary judgment against
   aiding and abetting claim where circumstantial evidence established a basis for jury to
   reasonably infer actual knowledge).

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   surrounding the transaction and the relationship of the parties.’” Id. (quoting Capital Bank v.
   MVB, Inc. 644 So.2d 515, 518 (Fla. 3rd DCA 1994). 4 Applying this standard, fiduciary duties
   implied in law are recognized when “confidence is reposed by one party and a trust accepted by
   the other.” Capital Bank, 644 So.2d at 518. 5 Moreover, “it is not essential that the undertaking be
   related to advice-giving, but an essential aspect is that there be a level of ‘trust and confidence’
   inherent in the relationship.” Combe v. Flocar Inv. Group Corp., 977 F.Supp.2d 1301, 1307
   (S.D. Fla. 2013).
          Here, Plaintiff placed his trust and confidence in CRYPTSY to provide him with a secure
   computerized platform in which to store his valuable virtual currency assets, and he placed those
   assets under CRYPTSY’s complete control subject only to Plaintiff’s instructions as to how to
   sell, trade, exchange or otherwise engage in transactions using his virtual currency. Moreover,
   the complex technical requirements necessary to provide a secure virtual currency wallet and
   exchange placed CRYPTSY at a uniquely superior advantage over its customers. Plaintiff and
   those similarly-situated victims on whose behalf he has brought this lawsuit placed their trust and
   confidence in CRYPTSY’s professed expertise in creating and maintaining a secure and private
   virtual currency exchange and wallet platform and promise that it would protect the assets placed
   under its control, at the very least from CRYPTSY’s own misconduct. Based on these facts, an
   implied fiduciary duty clearly existed between CRYPTSY and the Plaintiff class members. Id.;
   see also Bankest Imports, Inc. v. Isca Corp., 717 F.Supp. 1537, 1541 (S.D. Fla. 1989) (“To
   establish a fiduciary relationship, a party must allege some degree of dependency on one side and
   some degree of undertaking on the other side to advise, counsel, and protect the weaker party.”).
          Further, as noted above, bitcoin is not fiat currency. Each bitcoin is a unique virtual asset
   that is traceable to its owner through the blockchain and other information. While bitcoin can be
   readily traded, exchanged, or transferred, each bitcoin is a unique asset based on a unique
   computer code traceable to its location on the blockchain. Thus, a virtual wallet holding bitcoin,
   unlike a bank account holding fungible fiat currency, is more akin to an escrow account as it

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     Plaintiff relies on Florida law to determine the existence of a fiduciary duty between
   CRYPTSY and its customers because any such duty would have only arisen in Florida where
   CRYPTSY and Vernon resided and from which they offered their services to their customers.
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     As this case and others make clear, even banks can be held to owe fiduciary duties to their
   customers, although the Court need not apply this heightened standard as applied to banks here
   since CRYPTSY is not a bank and does not claim to be a bank. Capital Bank, 644 So.2d at 518
   (and cases cited therein).

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   contains unique assets owned by the named beneficiary/holder of the wallet. CRYPTSY is
   therefore properly viewed as an escrow agent, rather than a bank. The law is well settled in
   Florida that escrow agents owe a fiduciary duty to the other parties to the escrow transaction and
   are considered trustees in charge of the performance of an express trust. Watkins v. NCNB Nat’l
   Bank of Fla., N.A., 622 So.2d 1063, 1064-65 (Fla. 3rd DCA 1993). That is precisely the nature of
   the relationship between Plaintiff and CRYPTSY. Moreover, a fiduciary who steals the assets of
   the beneficiary who placed their trust and confidence in the fiduciary plainly breaches the
   fiduciary duty. Combe v. Flocar Inv. Group Corp., 977 F.Supp.2d at 1307; Columbia Bank v.
   Turbeville, 143 So.3d 964, 969-970 (Fla. 1st DCA 2014).
         3. If COINBASE Were a Bank, It Would Still Be Liable for Aiding and Abetting
          Even if the Court were to treat COINBASE as a bank (which it most definitely is not),
   COINBASE may be liable for aiding and abetting CRYPTSY’s tortious conduct. As noted in
   Chaney v. Dreyfus Service Corp., 595 F.3d 219, 232 (5th Cir. 2010):
          . . . a bank may be held liable for its customer’s misappropriation where[:] (1)
          there is a fiduciary relationship between the customer and the non-customer, (2)
          the bank knows or ought to know of the fiduciary relationship, and (3) the bank
          has “actual knowledge or notice that a diversion is to occur or is ongoing.”
   595 F.3d at 232; See also, Chang, 845 F.3d at 1095; Simi Mgmt. Corp. v. Bank of Am. Corp.,
   Case No. C-11-5573, 2012 WL 1997232 *6 (N.D. Cal. June 4, 2010). Under these
   circumstances, even a true banking institution can be held responsible for aiding and abetting
   misappropriation of assets belonging to a non-customer. Lorenz v. East West Bancorp, Inc., Case
   NO. 15-cv-06336, 2016 WL 199392 *8-9 (C.D. Cal. Jan. 14, 2016); Gonzalez v. Lloyds TSB
   Bank, PLC, 532 F.Supp.2d 1200, 1207 (C.D. Cal. 2006). In the instant matter, that means that
   facts sufficient to give rise to a reasonable inference that COINBASE knew that funds being
   exchanged by Vernon/CRYPTSY in their COINBASE accounts were being misappropriated
   from CRYPTSY accountholders would have triggered a duty of inquiry on COINBASE’s part,
   and COINBASE’s failure to conduct a reasonable inquiry when that obligation arose would
   result in COINBASE being charged with such knowledge as inquiry would have disclosed. As
   explained above, there are myriad disputed issues of material fact as to these questions. Because
   the law and facts clearly show the existence of a fiduciary duty between CRYPTSY and the
   Plaintiff class by which CRYPTSY held its customers’ assets in trust and that COINBASE had




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   knowledge of facts clearly warning that CRYPTSY was misappropriating those assets,
   Defendant’s motion for summary judgment must be rejected. 6
                   4.The Evidence Supports a Finding of Willful Blindness That Establishes
                     Defendant’s Actual Knowledge of CRYPTSY’s Tortious Conduct
          COINBASE’s attempt to evade a finding of willful blindness on summary judgment is
   unavailing. To show willful blindness, as an alternative to actual knowledge, the plaintiff must
   prove that the defendant (1) subjectively believed there was a high probability a particular fact
   existed or was true, and (2) took deliberate actions to avoid learning of that fact. Global–Tech
   Appliances, Inc. v. SEB S.A 563 U.S. 754, 766 (2011); Vasudevan Software, Inc. v. TIBCO
   Software Inc., C 11-06638 RS, 2012 WL 1831543, at *5 (N.D. Cal. May 18, 2012). Thus, even if
   required, there are disputed material facts as to the issue of willful blindness.
          B. Negligence (Count III)
          As COINBASE would have the Court believe, COINBASE owed no duty to Plaintiff . . .
   but if a duty was owed, COINBASE did not breach that duty . . . but if COINBASE did breach
   that duty, Plaintiff suffered no damages as a result of that breach. To support its position,
   COINBASE relies heavily upon caselaw focused on the liability (or non-liability) of banks. To
   travel under that argument, COINBASE heavily cloaks itself in the favorable caselaw that has
   been rendered to banks that have been charged with legal violations like those asserted by
   Plaintiff against COINBASE herein. 7 As explained throughout this memorandum; COINBASE’s
   efforts, however, fail for one simple, fundamental reason: COINBASE is not a bank. Because it
   is not a bank, the authorities on which it relies to evade a duty owed to Plaintiffs is simply
   inapplicable.

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     Defendant’s extensive analysis of willful blindness is entirely superfluous. Plaintiff does not
   rely on willful blindness as the basis for his claims. Indeed, as Defendant correctly notes, the
   doctrine of willful blindness applies principally under criminal law and with respect to certain
   statutory civil claims such as intentional infringement of a patent or copyright. Global-Tech
   Appliances, Inc. v. SEB S.A., 563 U.S. 754, 766 (2011). It has never been applied to a common
   law claim for aiding and abetting tortious conduct under California law, which is the law
   governing these claims. Plaintiff is not asking the court to extend the law to such claims. Rather,
   Plaintiff’s argument, as detailed above, is based on the extensive circumstantial evidence from
   which a jury could reasonably infer that Defendant had actual knowledge of CRYPTSY’s
   tortious conduct. See Simi Management Corp., 930 F.Supp.2d at 1098 (denying summary
   judgment against aiding and abetting claim where circumstantial evidence established a basis for
   jury to reasonably infer actual knowledge).
   7
     Motion at 13-15.


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                  1.Coinbase Owed a Duty to Plaintiff
             Looking instead to generally applicable law governing the existence of a duty,
   COINBASE owed Plaintiff and the class a duty of ordinary care to protect them from theft
   committed by COINBASE’s customers. Under California law, “a duty of care may be premised
   upon the general character of the activity in which the defendant engaged, the relationship
   between the parties or even the interdependent nature of human society. J’Aire Corp. v. Gregory,
   598 P.2d 60, 62 (Cal. 1979); Heyer v. Flaig, 449 P.2d 161, 164 (Cal. 1969), superseded by
   statute on other grounds as stated in Laird v. Blacker, 828 P.2d 691 (Cal. Ct. App. 1992). Even
   when the only harm is economic harm, a defendant may still be found to owe a duty to the
   injured plaintiff, even if there is no privity between the parties. Id. at 63. To determine if a duty
   is owed, in these situations, the courts must weigh several factors: (1) the extent to which the
   transaction was intended to affect the plaintiff, (2) the foreseeability of harm to the plaintiff, (3)
   the degree of certainty that the plaintiff suffered injury, (4) the closeness of the connection
   between the defendant’s conduct and the injury suffered, (5) the moral blame attached to the
   defendant’s conduct and (6) the policy of preventing future harm. J’Aire Corp., 598 P.2d at 63. 8
             The California Supreme Court recently clarified that where the only alleged harm is
   economic loss without any underlying personal injury or property damage, whether a duty exists
   “turns on a careful consideration of the ‘sum total’ of the policy considerations at play, not a
   mere tallying of some finite, one-size-fits-all set of factors.” Southern California Gas Leak
   Cases, 441 P.3d 881, 887 (Cal. 2019). Thus, no single factor alone determines whether a duty
   arises.
             Considering each of the factors in J’Aire Corp. and weighing the totality of the
   circumstances as required by Southern California Gas Leak Cases, COINBASE owed the
   Plaintiff class a duty. As to the first factor, CRYPTSY and Vernon’s transactions through
   COINBASE were not, strictly speaking, intended for the benefit of the Plaintiff class. However,
   there is still a direct relationship between those transactions and the Plaintiff class’ rights to the
   assets from which COINBASE directly benefited. Those transactions were supposedly derived


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     Florida applies a similar analysis to determine when a duty arises. See McCain v. Florida
   Power Corp., 593 So. 2d 500, 503 (Fla. 1992). As explained by the Florida Supreme Court,
   “Where a defendant's conduct creates a foreseeable zone of risk, the law generally will recognize
   a duty placed upon defendant either to lessen the risk or see that sufficient precautions are taken
   to protect others from the harm that the risk poses.” Id.

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   directly from services CRYPTSY provided to Plaintiff and the class. Thus, COINBASE was the
   direct beneficiary of the transactions between CRYPTSY and Plaintiff, and COINBASE knew it. 9
            The second factor – foreseeability of harm to plaintiffs – substantially favors finding a
   duty. As stated by the California Supreme Court, “the court's task in determining duty ‘is not to
   decide whether a particular plaintiff's injury was reasonably foreseeable in light of a
   particular defendant's conduct, but rather to evaluate more generally whether the category of
   negligent conduct at issue is sufficiently likely to result in the kind of harm experienced that
   liability may appropriately be imposed....’ ” Kesner v. Superior Court, 384 P.3d 283, 291 (Cal.
   2016).
            COINBASE operated in a highly risky business venture providing services that it knew
   created substantial risk of theft, fraud and money laundering by its customers and against those
   with whom its customers did business. Numerous government agencies specifically warned of
   these risks. COINBASE also knew that CRYPTSY was, itself, operating as a Money Services
   Business providing equally risky services to its own customers. Indeed, prior to closing
   CRYPTSY and Vernon’s accounts, COINBASE’s own bank partner sought to severely curtail
   COINBASE’s continued provision of virtual currency exchange services to MSBs like
   CRYPTSY because doing so posed an unacceptable risk of fraud, theft and money laundering.
   Despite knowing these risks, COINBASE fought to retain CRYPTSY as its customer. In light of
   the well-known risks and warnings inherent in providing its services to MSBs, like CRYPTSY, it
   was clearly foreseeable that the provision of those services to businesses, like CRYPTSY,
   created a substantial risk to Plaintiff. Those known and foreseeable risks should be taken into
   consideration by COINBASE by imposing a duty of ordinary care on its business practices.
            The third factor – the certainty that plaintiffs suffered injury – also weighs heavily in
   favor of imposing a duty on COINBASE. There simply is no dispute that Plaintiff suffered harm.
   His virtual currency was stolen and laundered through COINBASE’s virtual currency exchange
   service. This is exactly the risk of which COINBASE had ample warning.
            The fourth factor - the closeness of the connection between the defendant’s conduct and
   the injury suffered – similarly favors imposing a duty on COINBASE. This factor is closely

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     Of course, it was entirely untrue that the bitcoin CRYPTSY laundered through COINBASE
   was lawfully earned fees from the transactions completed by CRYPTSY’s customers. However,
   this does not minimize the direct link between the transactions CRYPTSY processed through
   COINBASE and the relationship between CRYPTSY and its customers.

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   related to the question of foreseeability. Id. at 295. CRYPTSY’s theft of Plaintiff’s and the class’
   assets was the direct result of COINBASE’s provision of virtual currency exchange services that
   allowed CRYPTSY and Vernon to convert their virtual currency into U.S. Dollars, which
   Vernon then transferred to his personal bank account and spirited away. This is precisely what
   this factor addresses. Id. It was eminently foreseeable that crooks and thieves would use
   COINBASE to convert ill-gotten virtual currency into fiat currency that they could then easily
   steal without a trace.
          The fifth factor -- the moral blame attached to the defendant’s conduct -- also rests
   squarely on COINBASE’s shoulders. COINBASE put its own profits over any consideration of
   the known risks posed by providing its services to companies like CRYPTSY. It now seeks to
   absolve itself from any such responsibility by claiming the mantle of a banking institution.
   However, COINBASE was no bank. It was, at best, a lightly regulated business that provided
   little or no oversight of its customers operations. It was not subject to the strict capital margin
   requirements imposed on banks, and its account holders had no protection in the form of deposit
   insurance. COINBASE knowingly chose to operate a highly risky business in a highly risky and
   relatively untested and extremely volatile market where it had far superior knowledge and
   technical capability compared with individuals like Plaintiff. It thus had far superior tools to
   protect people like Plaintiff than Plaintiff had to protect himself. The moral obligation to exercise
   due care under these circumstances is clear.
          The final factor -- the policy of preventing future harm -- is the final piece of the puzzle
   establishing a clearly defined duty. Imposing a duty of ordinary care on COINBASE will serve
   the greater public good in a limited and circumscribed manner. The duty to be imposed would
   not unleash unlimited liability even in the absence of physical harm. Rather, the duty would
   protect a very specific and defined set of individuals from well-known risks of fraud, theft and
   money laundering in an industry rife with such problems. Specifically, the duty would apply only
   to COINBASE’s provision of its services to other MSBs where there is a known and heightened
   risk of fraud, theft, and money laundering. The duty would fall only on the party most able to
   protect the beneficiaries of the duty from the risk – namely the customers of MSBs who funnel
   virtual currency transactions processed on their own platforms through others like COINBASE.
   A duty of ordinary care would thereby begin to impose some order on the otherwise chaotic
   world of virtual currency markets that have led to repeated warnings to investors of the extreme


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   risks involved in participating in that market, especially with respect to MSPs. Put simply,
   imposing a duty on the companies that have the greatest resources and ability to protect those
   with far less ability to protect themselves will make these markets safer. Id. at 297.
           Weighing all of the factors leads to the inescapable conclusion that COINBASE owed
   Plaintiff and the class a duty of ordinary care. 10
                 2.The Evidence Demonstrates That COINBASE Breached Its Duty to Plaintiff
           Defendant’s argument that there is no evidence that it breached any duty owed to Plaintiff
   is both incorrect and internally inconsistent. On one hand, Defendant argues that the AML and
   BSA regulations do not create a duty owed by Defendant to Plaintiff and the class. In the very
   next section, Defendant argues that its alleged compliance with the AML and BSA regulations
   immunizes it from any finding of a breach of fiduciary duty. Defendant cannot have it both ways.
   If it claims that compliance with federal regulations is evidence that it did not breach a duty to
   Plaintiff, then evidence of its failure to comply with those same regulations should be equally
   permitted to show that Defendant did breach its duty to Plaintiff. See Jacobs Farm/Del Cabo,
   Inc. v. Western Farm Service, Inc. 190 Cal.App.4th 1502, 1529 (Cal. Ct. App. 2010). Moreover,
   the fact that a defendant complies with a statutory or regulatory requirement is not per se proof
   that it was not negligent. It is merely evidence that a jury may consider and reject. Id. at 1526
   (“Compliance with the law does not prove the absence of negligence.”).
           Moreover, under §669 of the California Evidence Code, Plaintiffs reliance on the BSA
   and AML statutes and regulations are permissible to establish negligence per se. The
   presumption is not of a duty, but of a standard of care created by the statute or regulation, the
   violation of which establishes the presumption of negligence. California Service Station, 62
   Cal.App.4th at 1178. The presumption arises when: (1) the defendant violated a statute; (2) the
   violation proximately caused the plaintiff's injury; (3) the injury resulted from the kind of

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      Defendants’ reference to a “duty” per se created by statute is off-base. Def. Mot. p. 14-15.
   Plaintiffs do not claim that the AML and BSA regulations imposed a duty per se in favor of
   Defendants. Under California law, negligence per se does not establish the existence of a duty.
   California Service Station and Auto. Repair Ass’n v. American Home Assur. Co., 62 Cal.App.4th
   1166, 1178 (Cal. Ct. App. 1998). Rather, negligence per se is an evidentiary rule that allows the
   court to adopt statutory or regulatory requirements as the standard of care where a duty already
   exists. Id. If a defendant violates the statutory or regulatory requirements, a rebuttable
   presumption of negligence arises. Id.; see also Cal. Evid. Code. §669. As noted above,
   Coinbase’s duty to Plaintiffs arises from general common law principals, not from the AML and
   BSA regulations.

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   occurrence the statute was designed to prevent; and (4) the plaintiff was one of the class of
   persons the statute was intended to protect. Jacobs Farm/Del Cabo, Inc., 190 Cal.App.4th at
   1526. The first two elements are “normally questions for the trier of fact and the last wo are
   determined by the trial court as a matter of law.” Id.
           As to the first element, as set forth in Plaintiff’s expert witness report, there is substantial
   evidence that at the time of the theft of Plaintiff’s assets, COINBASE was not in compliance
   with the BSA and AML regulations governing record keeping and reporting of suspicious
   activities, and its purported AML policy (or lack thereof) also failed to comply with the
   regulations. As the expert’s report also makes clear, COINBASE failed to comply with even
   basic due diligence requirements, even absent the AML and BSA statutory/regulatory
   requirements.
           As to the second element, the violation of these regulations was the foreseeable and thus
   proximate cause of Plaintiff’s injuries; as adequate investigation, due diligence, and reporting
   required by the regulations would have revealed CRYPTSY’s theft and put a stop to its/Vernon’s
   conduct. The failure to do so resulted in the harm to Plaintiff and the class. Third, the injury
   resulted from the exact type of occurrence that the statute and regulations were designed to
   prevent – namely fraud, theft and money laundering. Finally, the statute, while principally a law
   enforcement tool intended to assist federal criminal, tax and regulatory investigations, is also
   intended to protect the customers of institutions from theft and money laundering by ferreting out
   such conduct and putting a stop to it. As stated by Plaintiff’s expert:
       [A]n effective AML Program control environment includes: 1) a detailed risk assessment
       that was utilized to identify higher risk customer types, geographies, products/services to
       allow for the implementation of appropriate controls; 2) documented and fully
       implemented Customer Due Diligence (“CDD”) and Enhanced Due Diligence (“EDD”)
       Programs, commonly referred to as Know Your Customer (“KYC”); 3) ongoing
       monitoring and controls that manage and mitigate the financial crime risk posed to the
       firm; and 4) investigative functions and documented procedures to ensure the timely
       identification and reporting of suspicious activity.
   O’Connor Report at ¶50. The purpose of these regulations is therefore not simply to aid in
   government enforcement, but to mitigate and prevent criminal activity through the use of
   financial institutions.
           Defendant’s reliance on Karen Kane, Inc. v. Bank of America and Wiand v. Wells Fargo
   Bank are therefore misplaced. In Karen Kane, Inc., the basis for the claim against the defendant



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   bank was that the bank negotiated allegedly fraudulently endorsed checks by which plaintiff’s
   own employees embezzled money from the plaintiff. 67 Cal.App.4th 1192, 1203 (Cal. Ct. App.
   1998). Plaintiff argued that federal AML regulations imposed a duty on the bank which it
   breached by not spotting the unusual endorsements. The court rejected this, finding that the AML
   regulations were not intended to identify wrongful endorsements or protect bank customers from
   their own faithless employees where the employer was more than able to protect itself. Id. at
   1199. Here, in contrast, the theft/money laundering was squarely within the scope of what the
   AML regulations are intended to ferret out: unusual currency transactions that indicate
   concealment of the true source of the funds in order to steal or launder the funds for some
   nefarious purpose. Moreover, unlike the Karen Kane case, this case does not involve the
   plaintiffs’ employees committing the theft; nor was the plaintiff in this case in any position to
   protect himself, as he was denied access to his account and prevented from taking any action to
   secure his assets against the theft. Finally, the Karen Kane case considered the far less strict
   AML requirements in place in 1998. Those requirements were substantially enhanced as of
   2013-2015 when the transactions at issue here took place.
          Wiand is also inapplicable here. In Wiand, the plaintiffs were victims of a Ponzi scheme
   that used the bank as its depository through which the fraudsters stole plaintiffs’ money. 86 F.
   Supp. 3d 1316, 1321 (M.D. Fla. 2015). Plaintiffs argued that federal AML and BSA regulations
   imposed a duty on the bank by establishing a standard of care in the banking industry that the
   bank failed to meet. The court rejected this argument finding that the federal regulations only
   imposed duties that extended to the United States, not a bank’s customers. However, the decision
   provides no supporting citation to any authority or to any provision of the regulations at issue.
   Moreover, the conclusion was premised on Florida negligence law, not California law. As noted,
   California law provides a specific statutory mechanism for imposing an evidentiary presumption
   of negligence based on a violation of a statutory or regulatory provision. In Wiand, the court did
   not consider the elements of the California statute; nor did its summary conclusion provide any
   analysis that would lead to a similar conclusion under California law. As noted above, based on
   California law, the opposite conclusion is warranted.
          In sum, there is disputed record evidence as to whether Defendant violated federal AML
   and BSA regulations. Additionally, these regulations clearly are intended to protect not just the
   United States, but also bank customers, from the very types of misconduct at issue in this case.


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   There is simply no basis to conclude that Defendant did not breach its duty of care to Plaintiff as
   a matter of law.
            Finally, even without the evidentiary presumption of negligence per se, there is
   substantial evidence that COINBASE breached the duty of care it owed to Plaintiff. Plaintiff’s
   expert witness report points out COINBASE’s numerous breaches of its basic duty to perform
   due diligence, particularly with respect to MSB customers like CRYPTSY who posed heightened
   risks of fraud, theft and money laundering. For example, Plaintiff’s expert opined that:
         In my opinion, Coinbase’s ongoing monitoring was not sufficiently tailored for the risks
         associated with Cryptsy as a high-risk customer relationship. Coinbase did not adequately
         understand Cryptsy’s business model, including its fee structure, and did not ask these
         relevant questions as part of its diligence/investigations. Cryptsy’s business practices as a
         high-risk cryptocurrency exchange conducting a high volume of bitcoin-to-U.S.-dollar
         currency conversion transactions should have alerted Coinbase and prompted Coinbase to
         fully understand and confirm the legitimacy of that high volume of activity.

         In my opinion, a reasonable investigation would have undertaken additional steps to
         determine if both the quantity and source of the bitcoin being deposited into the Cryptsy
         and Vernon Accounts, and thereafter liquidated and transferred out of Coinbase, was
         consistent with the explanations provided by Vernon to Coinbase.

   O’Connor Report at ¶¶65, 66, Exh. KK. Regardless of any AML/BSA regulatory requirements,
   such conduct is direct evidence of a breach of duty to Plaintiff, as it shows not only a complete
   absence of any due diligence to prevent known risks, but an affirmative decision to knowingly
   profit from transactions that COINBASE itself refused to process on its own platform.
                  3. UNJUST ENRICHMENT
            With minimal attention in less than a page of argument, COINBASE’s Motion addressed
   Plaintiff’s “Unjust Enrichment” claim (Count IV of the Class Action Complaint) and asserted
   that “there is no merit in any unjust enrichment claim here.” 11 However, COINBASE
   erroneously relies on Florida law for its argument when California law applies. Under California
   law, an unjust enrichment claim does not require that the plaintiff have personally conferred a
   direct benefit on the Defendant. Nor does California preclude unjust enrichment simply because
   the defendant gave “adequate consideration” for the benefit it received. See Los Gatos
   Mercantile, Inc. v. E.I. DuPont De Nemours and Co., Case No.13-cv-01180, 2015 WL 4755335



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        Motion at 17.


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   (N.D. Ca. Aug. 11, 2915) (conducting survey of states’ unjust enrichment laws, including
   Florida and California).
              Rather, to succeed on a claim for unjust enrichment under California law, a plaintiff must
   prove that “the defendant has been unjustly conferred a benefit ‘through mistake, fraud, coercion
   or request.” Astiana v. Hain Celestrial Group, Inc., 783 F.3d 753, 762 (9th Cir. 2015). Even if
   the person who received the benefit claims they gave consideration for the benefit received, they
   may still be liable for unjust enrichment if the person “had notice of the circumstances before
   giving value or before receiving tittle or a legal interest in the subject matter.” First Nationwide
   Savings v. Perry, 11 Cal.App.4th 1657, 1663 (Cal. Ct. App. 2013); See also FDIC v. Dintino 167
   Cal.App.4th 333, 346 (Cal. Ct. App. 2008) (“the equitable remedy of restitution when unjust
   enrichment has occurred “is an obligation (not a true contract [citation] ) created by the law
   without regard to the intention of the parties, and is designed to restore the aggrieved party to his
   or her former position by return of the thing or its equivalent in money.”)
              Under California law, Defendant’s motion is entirely inapplicable to Plaintiff’s unjust
   enrichment claim. Moreover, based on California law, Plaintiff has adduced substantial evidence
   that COINBASE, in fact, received a benefit from Plaintiff based on mistake or fraud and that
   COINBASE was on notice that its receipt of the benefit (namely the fees CRYPTSY and Vernon
   paid to COINBASE using Plaintiff’s assets and for the privilege of stealing Plaintiff’s assets)
   was the result of CRYPTSY’s tortious conduct. COINBASE’s motion for summary judgment as
   to Count IV must therefore be denied.
              Further, even if Florida law applied, COINBASE’s argument is wrong. COINBASE
   argues that “Plaintiff’s claim” should be dismissed because “Plaintiff did not confer any benefit
   on Coinbase or have any contact with Coinbase about Cryptsy or Mr. Vernon.” 12 COINBASE
   “erroneously equates direct contact with direct benefit.” Romano v. Motorola, Inc., 2007 WL
   4199781, at *2 (S.D. Fla. Nov. 26, 2007) (emphasis in original) (finding “unjust enrichment”
   claim adequately stated where benefit was unquestionably conferred, albeit through an
   intermediary). Whether Plaintiff had direct contact with COINBASE is immaterial. Id. As this
   Court has stated:
              Although Defendants are correct that the benefit conferred under an unjust-
              enrichment claim must be a direct benefit, the mere fact that there has been no

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        Id.


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             direct contact between a defendant and the plaintiff does not preclude a finding
             that the defendant received a direct benefit from that plaintiff. In other words, just
             because the benefit conferred by Plaintiffs on Defendants did not pass directly
             from Plaintiffs to Defendants -- but instead passed through a third party -- does
             not preclude an unjust-enrichment claim. To hold otherwise would be to
             undermine the equitable purpose of unjust enrichment claims. It would not serve
             the principles of justice and equity to preclude an unjust enrichment claim merely
             because the “benefit” passed through an intermediary before being conferred on a
             defendant.
   Williams v. Wells Fargo Bank, N.A., 2011 WL 4368980, at *9 (S.D. Fla. Sept. 19, 2011) (internal
   citations omitted). Here, the record demonstrates that Plaintiff did indeed confer a benefit upon
   COINBASE, even if that benefit passed through CRYPTSY and Vernon first.
             COINBASE’s argument that it gave “adequate consideration” to Vernon and CRYPTSY
   is likewise misplaced. First, evaluating whether consideration provided was “adequate” is a
   genuine issue of fact that is not appropriately decided on a Motion for Summary Judgment --
   especially where, as here, the parties dispute the adequacy and propriety of the payments and
   services exchanged between COINBASE and Mr. Vernon/Cryptsy. See, e.g., In re Cassandra
   Group, 312 B.R. 491, 498 (Bankr. S.D.N.Y. 2004) (denying summary judgment motion because
   “[f]airness of consideration is ordinarily a question of fact to be determined under the
   circumstances of the particular case”). Moreover, because the services provided by COINBASE
   to Vernon/CRYPTSY served to perpetuate an illegal fraud, the “value” conferred is illegal in its
   nature; and no exchange of reasonably equivalent value could have taken place. Defendant’s
   motion for summary judgment directed to Count IV for unjust enrichment must therefore be
   denied.
   IV.       CONCLUSION
             For the foregoing reasons, this Court should deny Defendant’s Motion for Summary
   Judgment in its entirety.




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                                                    Respectfully submitted,

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                                                    Counsel for Plaintiff and the Class

                               CERTIFICATE OF SERVICE

           WE HEREBY CERTIFY that a copy of the foregoing was served on this 5th day of
   August 2019 upon: ANDREW KEMP-GERSTEL, ESQ. and JAMES R. LIEBLER, II,
   ESQ., LIEBLER, GONZALEZ & PORTUONDO, Counsel for Defendant, Coinbase Inc.,
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                                                           /s/ Marc. A. Wites
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